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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

    Civil Action No. 18-cv-01897-WJM-NYW

    ADVANCE TRUST & LIFE ESCROW SERVICES, LTA,
    as securities intermediary for
    LIFE PARTNERS POSITION HOLDER TRUST,
    on behalf of itself and all others similarly situated,

           Plaintiff,

    v.

    SECURITY LIFE OF DENVER INSURANCE COMPANY

          Defendant.
    ______________________________________________________________________________

           LIMITED SPECIAL APPEARANCE AND MOTION FOR PROTECTIVE
       ORDER/MOTION TO QUASH PLAINTIFF’S SUBPOENAS TO SCOR GLOBAL
         LIFE AMERICAS REINSURANCE COMPANY AND TRANSAMERICA LIFE
                                INSURANCE COMPANY
    ______________________________________________________________________________

           SCOR Global Life Americas Reinsurance Company (“SCOR Global”) and Transamerica

    Life Insurance Company (“Transamerica Life”) (collectively, “Reinsurers”), by and through their

    counsel, Wilson Elser Moskowitz Edelman & Dicker, LLP, hereby enter a limited special

    appearance and motion for protective order/motion to quash (collectively, the “Motion”) Plaintiff’s

    Subpoenas Duces Tecum (“Subpoenas”) dated March 12, 2019. In support of its Motion, SCOR

    Global and Transamerica Life state the following:

                                Certification Pursuant to D.C.Colo.LCivR 7.1




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           Defendant Security Life of Denver Insurance Company (“SLD”) is unopposed to the relief

    requested in this Motion.

           Undersigned counsel left a voicemail for Plaintiff’s counsel with Shoemaker Ghiselli +

    Schwartz LLC on March 25, 2019. Undersigned counsel then followed up and contacted Plaintiff’s

    counsel with the Susman Godfrey law firm on March 26, 2019. Plaintiff’s counsel returned the

    call and undersigned counsel explained Reinsurers’ position. Plaintiff’s counsel did not take a

    position but indicated that they would call undersigned counsel back today to discuss further but

    at the time of filing this motion undersigned counsel has not received a return call. Undersigned

    counsel will continue conferral efforts, but given the deadlines under the Federal Rules of Civil

    Procedure is proceeding with this Motion.

    I.     INTRODUCTION

           For the reasons set forth below, the subpoenas propounded by Plaintiff Advance Trust &

    Life Escrow Services, LTA (“Advance Trust”) to SCOR Global and Transamerica Life, non-parties

    to this action, should be quashed pursuant to Federal Rule of Civil Procedure 45. The subpoenas

    subject SCOR Global and Transamerica Life to undue burden; request duplicative information and

    documents that are in the custody, possession, and control of parties to this litigation; and require

    disclosure of trade secrets and other confidential research, development, or commercial

    information.

           Further, pursuant to F.R.C.P. 26(c), SCOR Global and Transamerica Life request that a

    protective order be entered forbidding disclosure or discovery of the information and



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    documentation sought in the Subpoenas to protect SCOR Global and Transamerica Life from

    undue burden or expense.

    II.     BACKGROUND

            Plaintiff initiated this class action on behalf of owners of life insurance policies issued by

    SLD. Plaintiff claims that SLD policyholders have paid and are being required to pay “unlawful

    and excessive cost of insurance (“COI”) charges” by SLD. Plaintiff has subpoenaed SCOR Global

    and Transamerica Life as SLD’s reinsurers seeking a voluminous amount of various documents

    and communications spanning over 17 years. However, SCOR Global and Transamerica Life have

    no involvement in how SLD determines the cost of insurance rates charged to its customers, which

    is the subject of this lawsuit.

            The subpoenas dated March 12, 2019 to SCOR Global and Transamerica Life request the

    following:

            Request for Production No. 1: All reinsurance agreements, excess retention reinsurance

    agreements, financial reinsurance agreements, or other similar agreements, including any

    amendments to those agreements, between You and SLD Concerning the Subject Policies.

            Request for Production No. 2:           All Documents Concerning mortality data You

    considered in connection with any actual or proposed reinsurance rate increases affecting the

    Subject Policies, including, without limitation,

            (a) Internal communications regarding such mortality data;

            (b) Communications with SLD regarding such mortality data; and

            (c) Memoranda, analyses, white papers, charts, presentations, calculations, actuarial work,
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               Communications, or other Documents Concerning whether and how mortality

               experience or expectations of future mortality experience would affect the reinsurance

               rate applicable to the Subject Policies.

           Request for Production No. 3:          All Documents Concerning an actual or proposed

    reinsurance rate increases affecting the Subject Policies, including, without limitation:

           (a) Communications with SLD regarding such increases;

           (b) Internal Communications Concerning such increases;

           (c) Documents Concerning the bases for your decision to increase reinsurance rates

               affecting the Subject Policies, and

           Request for Production No. 4: All Communications with SLD Concerning reinsurance

    that you issued or considered issuing for the Subject Policies.

           Request for Production No. 5: All Documents Concerning the COI Increase, including,

    without limitation, (a) Communications between You and SLD concerning the COI Increase and

    (b) Internal Communications Concerning the COI Increase.

    See Subpoenas, attached as Exhibit A.

           As especially pertinent here, the term “Communication” is very broadly defined in the

    Subpoenas to mean “transmittal of information (in the form of facts, ideas, inquiries or otherwise).”

    The term “Document” is also broadly defined as “synonymous in meaning and equal in scope to

    the usage of the term ‘documents or electronically stored information’ in Fed. R. Civ. P.

    34(a)(1)(A)….” Further, “ESI” is defined to mean and refer to:

                   all electronically stored information, including all writings,
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                    drawings, graphs, charts, photographs, sound recordings, images,
                    email, source code, software, databases, phone messages and
                    records, operating systems and software applications, backup tapes,
                    metadata, voicemail messages, text messages, instant messages, and
                    other data or data compilations stored in any medium from which
                    information can be obtained. Any request herein for any Document
                    or all Documents includes and requires production of ESI.

            For the reasons set forth in further detail below, the Subpoenas should be quashed and a

    protective order entered on behalf of SCOR Global and Transamerica Life because the requests

    would cause undue burden for these non-parties and require the disclosure of confidential

    materials.

            Finally, pursuant to Fed. R.Civ. P. 45(d)(2)(B), SCOR Global and Transamerica Life assert

    their Objections to each of the foregoing five requests for production. See Exhibits B and C.

    III.    ARGUMENT

                 A. Legal Standard of Review

            Regarding the permissible scope of discovery, “[t]he applicable test is whether the evidence

    sought is relevant to any party’s claim or defense, and proportional to the needs of the case.”

    Charles Schwab & Co. v. Highwater Wealth Mgmt., LLC, Civil Action No. 17-cv-00803-CMA-

    NYW, 2017 U.S. Dist. LEXIS 158175, *8 (D. Colo. Sept. 27, 2017). Subpoenas served on

    non-parties are considered discovery under the Federal Rules of Civil Procedure. Id. (citing Rice

    v. U.S., 164 F.R.D. 556, 556–57 (N.D. Okla. 1995)). “Accordingly, a subpoena is bounded by the

    same standards that govern discovery between the parties – to be enforceable, a subpoena must

    seek information that is relevant to a party’s claims or defenses, and are proportional to the needs

    of the case.” Id. at *9 (citing Fed. R. Civ. P. 26(b)(1)).
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           Federal Rule of Civil Procedure 45 provides four instances where the quashing or

    modifying of a subpoena is required, two of which are applicable to the instant scenario.

    Specifically, Rule 45(d)(3)(A) requires the court to quash or modify a subpoena that: “(iii)

    requires disclosure of privileged or other protected matter, if no exception or waiver applies; or

    (iv) subjects a person to undue burden.” If the court finds that either of these elements is

    established, then a quashing or modifying of the Subpoena is required. Fed. R.Civ. P. 45(d)(3)(A).

           In addition, the court may, on motion, quash or modify a subpoena if it requires “disclosing

    a trade secret or other confidential research, development, or commercial information.” Fed.

    R.Civ. P. 45(d)(3)(B)(i).

           Further, Rule 45(d)(2)(B) provides that “[a] person commanded to produce documents or

    tangible things or to permit inspection may serve on the party or attorney designated in the

    subpoena a written objection to inspecting, copying, testing, or sampling any or all of the materials

    or to inspecting the premises—or to producing electronically stored information in the form or

    forms requested.”

           “The court may also consider the fact that the discovery sought is directed at a nonparty,

    and in such a case, the ordinary burden imposed under Rule 26 is generally greater.” Charles

    Schwab & Co., 2017 U.S. Dist. LEXIS 158175, *8 (citing Echostar Commc’ns Corp. v. News

    Corp., 180 F.R.D. 391, 394 (D. Colo. 1998)).

           Finally, Rule 26(c) states in pertinent part that

                   “[a] party or any person from whom discovery is sought may move
                   for a protective order in the court where the action is pending . . . .
                   The court may, for good cause, issue an order to protect a party or
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                   person from annoyance, embarrassment, oppression, or undue
                   burden or expense . . . .”

    The court may forbid the disclosure or discovery under Rule 26(c)(1)(A) accordingly.

               B. The Court Should Quash the Subpoenas Because the Subpoenas Subject

                   Reinsurers to Undue Burden.

           A subpoena served on a third party pursuant to Rule 45 of the Federal Rules of Civil

    Procedure is subject to the same standards that govern discovery between the parties — it must

    seek relevant information and be proportional to the needs of the case. See Segura v. Allstate Fire

    & Cas. Ins. Co., No. 16–cv–00047–NYW, 2016 WL 8737864, at *5 (D. Colo. Oct. 11, 2016)

    (citing Rice v. United States, 164 F.R.D. 556, 556–57 (N.D. Okla. 1995)). Subpoenas that would

    create a substantial burden for a non-party are properly quashed. See Travelers Indem. Co. v.

    Metro. Life Ins. Co., 228 F.R.D. 111, 114-15 (D. Conn. 2005) (granting motion to quash subpoena

    that would have required non-party to review documents associated with 1000 insurance policies

    stored across the country in multiple offices and off-site facilities).

           Undue burden can be found when subpoenas are facially overbroad. Factors to be

    considered in regard to whether an undue burden is created are “relevance, the need of the party

    for documents, the breadth of the document request, the time period covered by it, the particularity

    with which documents are described and the burden imposed.” Concord Boat Corp. v. Brunswick

    Corp., 169 F.R.D. 44, 49 (S.D.N.Y. 1996) (quoting United States v. International Business

    Machines Corp., 83 F.R.D. 97, 104 (S.D.N.Y. 1979)). Further, “the status of a witness as a

    non-party to the underlying litigation “entitles [the witness] to consideration regarding expense

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    and inconvenience.’” Id. (quoting Fed. R. Civ. P. 45(c)(2)(B)) (modification in original). Here,

    non-party Reinsurers would be greatly inconvenienced and incur abundant expenses if forced to

    comply with the Subpoenas.

           Here, the Subpoenas request Communications (“transmittal of information (in the form of

    facts, ideas, inquiries or otherwise”) and Documents, including all electronically stored

    information but specifically all writings, drawings, graphs, charts, photographs, sound recordings,

    images, email, source code, software, databases, phone messages and records, operating systems

    and software applications, backup tapes, metadata, voicemail messages, text messages, instant

    messages, and other data or data compilations stored in any medium from which information can

    be obtained for a period of more than 17 years. This causes undue burden for SCOR Global and

    Transamerica Life. See Affidavit, attached as Exhibit D.

           The process of drafting a reinsurance treaty between SCOR and an insurance company is

    a highly individualized process. A single reinsurance treaty may cover thousands of individual

    insurance policies issued by an insurance company, SCOR’s client. See Exhibit D. Plaintiff does

    not identify policy listings by policy number in the Subpoenas, which makes responding to the

    Subpoenas extremely onerous. SCOR’s primary frame of reference for searching documents is

    provided by the reinsurance contracts which are not identified in the Subpoenas. See Exhibit D.

           SCOR’s electronic databases allow for keyboard searches of the company’s electronic

    documents. Identifying potentially responsive documents from a search query on this system

    would be labor intensive, as SCOR would be required to personally review all of the search term

    hits. This would include millions of searchable documents over a period of time spanning two
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    decades. See Exhibit D.

           SCOR has approximately 47 SLD treaties with 23,602 policies as of January 2019. See

    Exhibit D. There are 12 SLD treaties that contain the Strategic Accumulator Universal Life and

    Life Design Guarantee Universal Life products with approximately 4,790 total policies on those

    treaties. Id. However, SCOR would have to investigate which of those treaties include which

    products. Id.

           The definition of “SLD” in the Subpoenas is “Security Life of Denver Insurance Company,

    its parents, agents and/or employees, persons acting on their behalf; and, the predecessors and

    successors in interest of each of the foregoing described entities and persons.” This term potentially

    also encompasses affiliates of SLD and even further extends the extensively overly broad nature

    of the Subpoenas’ requests. See Exhibit D.

           In addition, the electronic and physical records that would need to be searched to respond

    to the requests in the Subpoena may be stored in various locations across several states.

    Numerous of the prior hardcopy files may have been shipped to off-site storage locations. In

    addition, the availability of electronic data for searches specific to an employee or former

    employee varies depending on the custodian, his/her location, and whether he/she is still employed

    by SCOR. This collection of responsive materials would be a highly individualized process that

    would be time-consuming. See Exhibit D.

           A large majority of the documents requested would not be relevant. SCOR has no

    involvement in how insurance companies, such as SLD, determine the cost of insurance rates

    charged to their customers. See Exhibit D. SCOR’s reinsurance rates are typically negotiated as a
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   percentage of a standardized reinsurance rate table to an agreed upon formula. Further

   investigation would be necessary to determine how the reinsurance rates were determined here.

   See Exhibit D.

          In addition, the Subpoenas’ requests do not include any temporal limitations. In Moon v.

   SCP Pool Corp., 232 F.R.D. 633, 638 (C.D. Cal. 2005), the Court granted a motion to quash the

   subpoena of a non-party witness because plaintiffs’ request for documentation related to a 10-year

   period. The court found that the subpoena was overly broad on its face and unduly burdensome to

   the non-party witness. Id. Here, the dates implicated by the Subpoenas span a 17-year time period

   and should be found overly broad on their face.

          Further, the Subpoenas request communications involving Reinsurers. In United States

   Fire Ins. Co. v. City of Warren, 2012 WL 1454008 (E.D. Mich. 2012), a city sued several of its

   insurers regarding the reimbursement for costs expended in the defense of a class action suit. The

   court concluded that communications made between the insurers and their reinsurers were not

   discoverable in an action to determine what coverage was provided by the underlying policies. Id.

   at *31; see David J. Marchitelli, J.D., Annotation, Discoverability of Communications Between

   Insurer and Reinsurer, 104 A.L.R.6th 207, *2. Further, the court explained that reinsurance

   involves a business decision to spread risks undertaken by an insurer, and is not a legal

   determination regarding the interpretation of a policy or of the coverage provided thereunder. 2012

   WL 1454008. The court explained that reinsurance reflects an undisclosed unilateral intention at

   best and as such was irrelevant to determining the intentions of the parties to the underlying

   insurance contract. Id. The court found that the reinsurance agreements were discoverable but
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   denied the insured’s motion to compel production of the information, maintaining that all other

   reinsurance information was not discoverable even if it was found that the underlying policy was

   ambiguous. Id.

          As was the case in City of Warren, the documents being sought here create an undue burden

   and implicate communications and other documents that are not discoverable. Further, the

   Subpoenas seek irrelevant information and information not proportional to the needs of the case.

          Specifically, Requests Nos. 1 to 5 are overly broad on their face because they do not contain

   any temporal limitations. In addition, the majority of information from these requests would be

   irrelevant. See Charles Schwab & Co., 2017 U.S. Dist. LEXIS 158175, *14 (citing EEOC v. Unit

   Drilling Co., No. 13-cv-147-TCK-PJC, 2014 WL 130551, at *3–4 (N.D. Okla. Jan. 13, 2014))

   (quashing overly broad requests that sought “any and all documents” concerning a wide swath of

   personal information).

          Request No. 1 seeks “All” reinsurance agreements, excess retention agreements, financial

   reinsurance agreements or “other similar agreements” including any attachments with SLD.

   (Emphasis added). There is no time limitation on this request and these agreements date back more

   than 17 years. Further, the majority of these agreements are irrelevant.

          Request No. 2 requests “All Documents Concerning mortality data” and again does not

   provide any temporal limitation. (Emphasis added).

          Request No. 3 requests “All Documents” concerning any actual or proposed reinsurance

   rate increases affecting policies ever issued to SLD in the Reinsurers’ history without any temporal

   limitation. (Emphasis added). The majority of the documents requested would be irrelevant.
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           Request No. 4 requests “All Communications with SLD Concerning reinsurance” without

   any time limitations. (Emphasis added). The majority of these documents would be irrelevant.

   There is again no temporal limitation and the documents requested would largely be irrelevant.

           Finally, Request No. 5 requests “All Documents Concerning the COI Increase” which is

   defined as the “cost of insurance rate increase on certain SLD policies.” (Emphasis added). There

   is again no temporal limitation provided and the documents requested would largely be irrelevant

   to the finite issues of concern in this action.

           As such, Requests 1-5 create an undue burden and implicate communications and other

   documents that are not discoverable. Further, the Subpoenas seek irrelevant information and

   information not proportional to the needs of the case. The Subpoenas should be quashed for these

   reasons. See White v. Deere & Co., No. 13-cv-02173-PAB-NYW, 2015 WL 1385210, at *9 (D.

   Colo. Mar. 23, 2015) (“Discovery into matters not relevant to the case imposes a per se undue

   burden.”).

           In conclusion, Reinsurers request that the Subpoenas be quashed as they would cause

   undue burden.

                C. Any Discoverable and Available Information and Documentation Sought in

                   the Subpoenas Should be Sought from Defendant SLD, not Reinsurers.

           Fed. R.Civ. P. 26(b)(2)(C) also requires courts to limit discovery where “the discovery

   sought is unreasonably cumulative or duplicative, or can be obtained from some other source that

   is more convenient, less burdensome, or less expensive” and where “the party seeking discovery



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   has had ample opportunity to obtain the information by discovery in the action; or the proposed

   discovery is outside the scope permitted by Rule 26(b)(1).”

          Requesting a non-party to produce documents that are, or reasonably should be, already in

   the custody, possession, and control of parties to a litigation is duplicative, unduly burdensome,

   and unnecessary. Plaintiff improperly seeks information from non-party Reinsurers that should be

   sought solely from the named Defendant in this matter. See, e.g., Nachurs Alpine Solutions, Corp.

   v. Nutra-Flo Co., 2017 WL 1380460, at *5 (N.D. Iowa Apr. 17, 2017) (“[I]n the absence of

   extenuating circumstances, documents discoverable from both a nonparty and a party must be

   obtained from a party.”); Kitchens v. Tordsen, 2015 WL 1011711, at *2 (E.D. Cal. Mar. 5. 2015)

   (“The Court will only consider issuing a subpoena if the documents sought from the non-party are

   not otherwise available to Plaintiff and cannot be obtained from Defendant through a request for

   production.”); Amini Innovation Corp. v. McFerran Home Furnishings, 300 F.R.D. 406, 410 (C.D.

   Cal. 2014) (“Courts are particularly reluctant to require a non-party to provide discovery that can

   be produced by a party.”); ABC, Inc. v. Aereo, Inc., 2013 WL 5276124, at *6 (N.D. Iowa Sept. 17,

   2013) (finding that relevancy was outweighed by burden on non-party where other party “has equal

   access to those documents”); Precourt v. Fairbank Reconstruction Corp., 280 F.R.D. 462, 467

   (D.S.D. 2011) (“If the party seeking the information can easily obtain the same information

   without burdening the nonparty, the court will quash the subpoena.”); Cantrell v. U.S. Bioservices

   Corp., 2009 WL 1066011, at *2 (W.D. Mo. Apr. 21, 2009) (finding non-party subpoena unduly

   burdensome in part because documents could be first sought from party defendants).



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          Plaintiff’s Subpoenas and the Requests contained therein seek information and documents

   which by their very definition would also be in the custody of the Party-Defendant, to the extent

   they exist. For example, the Subpoenas request communications between Reinsurers and SLD.

   Because Plaintiff’s Subpoenas improperly seek discovery from non-parties that would be readily

   available from the Party-Defendants, they are unduly burdensome to Reinsurers. For these reasons,

   the Subpoenas, must be quashed to eliminate these unduly burdensome and improper requests.

          According to Rule 45, a party or attorney responsible for issuing and serving a subpoena

   must take reasonable steps to avoid imposing undue burden or expense on a person subject to the

   subpoena. Fed. R. Civ. P. 45(d)(1). Further, “[t]he Court for the district where compliance is

   required must enforce this duty and impose an appropriate sanction – which may include lost

   earnings and reasonable attorney’s fees – on a party or attorney who fails to comply.” Id. In

   conclusion, Reinsurers request that the Subpoenas be quashed because the information and

   documents sought can be recovered from the named Defendant in this action, SLD.

              D. The Court Should Quash the Subpoenas Because They Require Disclosing

                  Trade Secrets and other Confidential Research, Development, or Commercial

                  Information.

          Requests No. 1 through 5 also implicate trade secrets, confidential research, development

   or commercial information that should not be discoverable. The Requests to SCOR Global and

   Transamerica Life are not limited to rate increases over a certain time period which is the subject

   of the suit, but instead request all communications for over a 17-year period with SLD. SLD’s

   internal communications regarding mortality data include trade secrets, confidential research,
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   development, and commercial information. Therefore, the subpoenas should also be quashed on

   this basis.

                 E. A Protective Order Should be Entered Protecting SCOR Global and

                   Transamerica Life from Undue Burden.

           A non-party may seek from the court protection from discovery based upon the

   “overlapping and interrelated provisions” of Rules 26 and 45. In re Fosamax Prod. Liab. Litig.,

   No. 1:06-MD-1789, 2009 WL 2395899, at *2 (S.D.N.Y. Aug. 4, 2009). Generally, a person from

   whom discovery is sought may move for a protective order. The court where an action is pending

   may, for good cause, issue an order to protect a party or person from annoyance, embarrassment,

   oppression, or undue burden or expense. Fed. R. Civ. P. 26(c)(1). Here, as set forth above, the

   Subpoenas would cause Reinsurers undue burden and expense. Therefore, the Reinsurers request

   that a protective order be entered to protect them from such undue burden and expense.

   IV.     CONCLUSION

           Plaintiff’s Subpoenas to SCOR Global and Transamerica Life should be quashed in their

   entirety. The Subpoenas are unduly burdensome and would require disclosing trade secrets and

   other confidential research, development, or commercial information. The document production

   sought by Plaintiff’s Subpoenas is overly broad, as the information requested is not proportional

   to the needs of the case or relevant to the underlying litigation. Further, a protective order should

   be issued to guard against the release of such information. In conclusion, Reinsurers respectfully

   request that their Motion be granted and that the subpoenas be quashed and a protective order

   entered.
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on March 26, 2019 I filed a true and correct copy of the foregoing
   LIMITED SPECIAL APPEARANCE AND MOTION TO QUASH PLAINTIFF’S
   SUBPOENAS TO SCOR GLOBAL LIFE AMERICAS REINSURANCE COMPANY AND
   TRANSAMERICA LIFE INSURANCE COMPANY with the Clerk of Court using the
   CM/ECF system, which provided electronic notification of the filing via e-mail to the following
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